           Case 2:11-cr-00353-MCE Document 258 Filed 04/13/16 Page 1 of 2


1

2

3

4

5

6

7

8                                     UNITED STATES DISTRICT COURT
9                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       No. 2:11-CR-00353-MCE
                                                     No. 2:16-MC-00043-MCE-AC
12                       Plaintiff,                  No. 2:16-MC-00050-MCE-EFB

13             v.                                    RELATED CASE ORDER

14   ANTHONY SALCEDO,
15                       Defendant.
16

17             The Court has received the Notice of Related Case filed on March 31, 2016

18   (ECF No. 257).

19             Examination of the above-entitled civil and criminal actions reveals that these

20   actions are related within the meaning of Local Rule 123(a) (E.D. Cal. 1997). The

21   actions involve many of the same defendants and are based on the same or similar

22   claims, the same property transaction or event, similar questions of fact and the same

23   questions of law, and would therefore entail a substantial duplication of labor if heard by

24   different judges.

25             Accordingly, the assignment of the matters to the same judge is likely to effect a

26   substantial savings of judicial effort and is also likely to be convenient for the parties.

27   ///

28   ///
                                                    1
       Case 2:11-cr-00353-MCE Document 258 Filed 04/13/16 Page 2 of 2


1           The parties should be aware that relating the cases under Local Rule 123 merely
2    has the result that both actions are assigned to the same judge; no consolidation of the
3    action is effected. Under the regular practice of this court, related cases are generally
4    assigned to the district judge and magistrate judge to whom the first filed action was
5    assigned.
6           IT IS THEREFORE ORDERED that the action denominated reassigned to Judge
7    Morrison C. England, Jr. for all further proceedings, and any dates currently set in 2:16-
8    MC-00050-MCE-EFB are hereby VACATED. Henceforth, the caption on documents
9    filed in the reassigned case shall be shown as 2:16-MC-00050-MCE-AC, United States
10   v. Anthony Salcedo. IT IS FURTHER ORDERED that the Clerk of the Court make
11   appropriate adjustment in the assignment of cases to compensate for this reassignment.
12          IT IS SO ORDERED.
13   DATED: April 12, 2016
14
                                          _____________________________________________
15
                                          MORRISON  N C. ENGLLAND, JR, C
                                                                       CHIEF JUDG  GE
16                                        UNITED ST TATES DISSTRICT COU  URT

17

18

19

20

21

22

23

24

25

26

27

28
                                                  2
